                                                                                         Form 1
                                                                                                                                                                                                             Page: 1
                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:    19-03841                                                                                                                          Trustee Name:       (620060) David G. Rogers
Case Name:       Pain MD, LLC                                                                                                                  Date Filed (f) or Converted (c): 06/14/2019 (f)
                                                                                                                                               § 341(a) Meeting Date:      07/15/2019
For Period Ending:      09/30/2021                                                                                                             Claims Bar Date: 09/17/2019

                                                      1                                                2                              3                           4                      5                          6

                                             Asset Description                                      Petition/                 Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                        Unscheduled            (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                                     Values                 Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                        and Other Costs)                                                            Remaining Assets

    1       Account at Wells Fargo Bank (PainMD Corporate) 1712 West End Avenue, 2nd                         5,110.84                          5,110.84                                      45,167.78                           FA
            Floor, Nashville, TN 37203, xxxxxx4100
            Close out of bank account

    2       Account at SunTrust Bank (Kingsport) 731 Cool Springs Blvd., Franklin, TN                           529.35                           529.35                                         529.35                           FA
            37067, xxxxxx4028
            Close out of bank account

    3       Account at SunTrust Bank (Lawrenceburg) 731 Cool Springs Blvd., Franklin, TN                        269.61                           269.61                                         269.61                           FA
            37067, xxxxxx4010
            Close out of bank account

    4       Account at SunTrust Bank (Mt. Juliet) 731 Cool Springs Blvd., Franklin, TN                       5,693.65                          5,693.65                                       5,693.65                           FA
            37067, xxxxxx6902
            Close out of bank account

    5       Account at Capital Bank (Greeneville) P.O. Box 1120, Greeneville, TN 37744-                      1,189.75                          1,189.75                                       1,189.75                           FA
            1120, xxxxxx7085
            Close out of bank account

    6       Account at Wells Fargo Bank (Bristol, VA) 1712 West End Avenue, 2nd Floor,                          286.65                           286.65                                         286.65                           FA
            Nashville, TN 37203, xxxxxx8082
            Close out of bank account

    7       Account at Wells Fargo Bank (Christiansburg, VA) 1712 West End Avenue, 2nd                          817.15                           817.15                                              0.00                        FA
            Floor, Nashville, TN 37203, xxxxxx1727
    8       Account at Wells Fargo Bank (Concord, NC) 1712 West End Avenue, 2nd Floor,                          958.81                           958.81                                         225.00                           FA
            Nashville, TN 37203, xxxxxx1743
            Close out of bank account

    9       Account at Wells Fargo Bank (High Point, NC) 1712 West End Avenue, 2nd Floor,                       482.83                           482.83                                              0.00                        FA
            Nashville, TN 37203, xxxxxx1750
    10      Account at Wells Fargo Bank (Mount Airy, NC) 1712 West End Avenue, 2nd                           1,502.69                          1,502.69                                          97.48                           FA
            Floor, Nashville, TN 37203, xxxxxx1768
            Close out of bank account

    11      Prepaid insurances (General liability, malpractice liability, property, auto and                 5,000.00                          5,000.00                                              0.00                        FA
            workers compensation)
    12      A/R 90 days old or less. Face amount = $977,331.13. Doubtful/Uncollectible                     977,331.13                        977,331.13                                       1,792.35                           FA
            accounts = $0.00.
            Receipt of A/R to date

    13      A/R Over 90 days old. Face amount = $144,111.00. Doubtful/Uncollectible                        144,111.00                        144,111.00                                              0.00                        FA
            accounts = $0.00.
                                           Case 3:19-bk-03841                       Doc 244     Filed 10/26/21 Entered 10/26/21 17:46:26                                   Desc Main
                                                                                               Document      Page 1 of 7
                                                                                       Form 1
                                                                                                                                                                                                          Page: 2
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    19-03841                                                                                                                       Trustee Name:       (620060) David G. Rogers
Case Name:      Pain MD, LLC                                                                                                                Date Filed (f) or Converted (c): 06/14/2019 (f)
                                                                                                                                            § 341(a) Meeting Date:      07/15/2019
For Period Ending:     09/30/2021                                                                                                           Claims Bar Date: 09/17/2019

                                                    1                                                2                             3                           4                      5                          6

                                            Asset Description                                     Petition/                Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                       Unscheduled           (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                                   Values                Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                     and Other Costs)                                                            Remaining Assets

    14      Subaru Legacy (2012) VIN 4S3BMCC67C3019369; Original Cost: $24,750.00.                        Unknown                           6,985.00                                       6,985.00                           FA
            Sale of vehicle by auctioneer

    15      Subaru Legacy (2013) VIN 4S3BMCC63D3036591; Original Cost: $25,411.76.                        Unknown                           6,985.00                                       6,985.00                           FA
            Sale of vehicle by auctioneer

    16      Subaru Legacy (2015) VIN 4S3BNBC68F3074960; Original Cost: $25,683.73.                         6,849.08                         6,849.08                                      12,265.00                           FA
            Sale of vehicle by auctioneer

    17      Subaru Legacy (2015) VIN 4S3BNBC62F3076297; Original Cost: $25,928.47.                         6,914.31                         6,914.31                                      12,816.10                           FA
            Sale of vehicle by auctioneer

    18      Subaru Legacy (2016) VIN 4S3BNBC6XG3020450; Original Cost: $25,885.43.                         7,765.78                         7,765.78                                      10,615.00                           FA
            Sale of vehicle by auctioneer

    19      Mercedes Cargo Van (2016) VIN WD3PG2EA4G3090814; Original Cost:                               14,072.08                        14,072.08                                      16,445.00                           FA
            $36,082.59.
            Sale of vehicle by auctioneer

    20      Subaru Outback (2016) VIN 4S4BSBNC7G3360341; Original Cost: $28,786.27.                       12,474.09                        12,474.09                                      21,340.00                           FA
            Sale of vehicle by auctioneer

    21      Subaru Legacy (2016) VIN 4S3BNAC68G3064182; Original Cost: $26,416.38.                        12,210.75                        12,210.75                                      12,540.00                           FA
            Sale of vehicle by auctioneer

    22      Notes Receivable: Receivable from Michael Kestner - owner of MedManagement                   178,500.00                       178,500.00                                              0.00                        FA
            Inc. which is an 80% owner of PainMD, LLC. Funds ($250,000) were borrowed
            from PainMD on October 15, 2015 and the remaining balance as of the current
            date is reflected.. Total Face amount - Uncollectable amount = $178,500.00 -
            $0.00
    23      Notes Receivable: Note receivable from Titan Management Partners, LLC (Sale              1,500,000.00                       1,500,000.00                                              0.00                        FA
            of the North Carolina 4 clinic assets as of February 1, 2019 - note is payable
            monthly over 36 months - payments to begin in April 2019 but any payments are
            being held in escrow pending the outcome of the Federal Civil Action lawsuit
            against PainMD, LLC.). Total Face amount - Uncollectable amount =
            $1,500,000.00 - $0.00
            Proposed compromise for payment $44,286 set aside by Titan for purchase
            agreement filed 7/31/19 Doc. No. 47 - See asset #28



                                            Case 3:19-bk-03841                 Doc 244        Filed 10/26/21 Entered 10/26/21 17:46:26                                  Desc Main
                                                                                             Document      Page 2 of 7
                                                                                        Form 1
                                                                                                                                                                                                                 Page: 3
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    19-03841                                                                                                                             Trustee Name:        (620060) David G. Rogers
Case Name:      Pain MD, LLC                                                                                                                      Date Filed (f) or Converted (c): 06/14/2019 (f)
                                                                                                                                                  § 341(a) Meeting Date:       07/15/2019
For Period Ending:      09/30/2021                                                                                                                Claims Bar Date: 09/17/2019

                                                     1                                                    2                              3                            4                      5                          6

                                            Asset Description                                          Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                            Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                        Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                           and Other Costs)                                                             Remaining Assets

    24      Notes Receivable: Note receivable from Rinova The Wellness Group, P,C, (Sale                             0.00                              0.00                                              0.00                        FA
            of the Tennessee 4 clinic assets as of February 1, 2019 - note is payable monthly
            over 36 months - payments were to begin in April 2019 but no payments have
            been made due to actions taken by the Medicare Unified Program Integrity
            Contractor for suspension of Medicare reimbursements to the Rinova clinics. All
            Rinova clinics ceased operations as of May 8, 2019 due to insufficient funds for
            continued operations.) COLLECTIBILITY OF THIS NOTE IS HIGHLY
            DOUBTFUL.. Total Face amount - Uncollectable amount = $1,250,000.00 -
            $1,250,000.00
    25      Notes Receivable: Note receivable from Cadence Consulting, LLC (Sale of clinic                           0.00                              0.00                                              0.00                        FA
            assets of the 2 Virginia clinics as of February 2, 2019. Rinova owned the medical
            practice and Cadence was contracted as the management entity with
            responsibility for all non-medical decisions of opertional activity and was at
            financial risk for profits or losses. Note payments were to begin in April 2019 but
            no payments have been made due to the actions taken by the Medicare Unified
            Program Integrity Contractor for suspension of Medicare reimbursements to the
            Rinova clinics. All Rinova clinics ceased operations as of May 8, 2019 due to
            insufficient funds for continued operations.) COLLECTIBILITY OF THIS NOTE IS
            HIGHLY DOUBTFUL.. Total Face amount - Uncollectable amount =
            $1,000,000.00 - $1,000,000.00
    26      Account at Bank of America (u)                                                                         300.65                           195.65                                          195.65                           FA
            Close out of bank account
            $300.65 balance added per amendment, Doc. No. 19

    27      Miscellaneous Checks (u)                                                                                 0.00                              0.00                                         115.18                           FA
            Miscellaneous checks received

    28      Preference lawsuits (u)                                                                           55,485.36                          55,485.36                                       36,500.00                           FA
            Most preference lawsuits settled - Final payment from Kestner settlement
            received 9/14/20

    29      Proceeds of second auction of medical equipment and other personal property in                    Unknown                            54,404.70                                       54,404.70                           FA
            storage
            Personal property and equipment of debtor listed in original SOFA #20 in multiple
            storage units - Amended Schedules, Doc. No. 19 indicated unknown value


    30      Contract 6195 profit share (Broker commission) (u)                                                 7,714.38                           7,714.38                                        7,714.38                           FA

    31      Proceeds of 2/23/21 auction of medical equipment from Charleston storage                          15,000.00                          15,000.00                                       20,223.50                           FA
            Proceeds of 2/23/21 auction of medical equipment from Charleston storage

   31       Assets               Totals   Case   3:19-bk-03841
                                            (Excluding unknown values)            Doc 244          Filed$2,960,569.94
                                                                                                         10/26/21 Entered $3,028,839.64
                                                                                                                                10/26/21 17:46:26                              Desc Main$274,396.13                             $0.00
                                                                                                  Document          Page 3 of 7
                                                                           Form 1
                                                                                                                                                                            Page: 4
                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case No.:    19-03841                                                                                                 Trustee Name:      (620060) David G. Rogers
Case Name:     Pain MD, LLC                                                                                           Date Filed (f) or Converted (c): 06/14/2019 (f)
                                                                                                                      § 341(a) Meeting Date:   07/15/2019
For Period Ending:   09/30/2021                                                                                       Claims Bar Date: 09/17/2019


      Major Activities Affecting Case Closing:


                                  ***BANK ACCOUNTS***

                                  All bank accounts received.


                                  ***A/R***

                                  Terry tells me Pain MD only has patient receivables from Medicare for services up through January 31, 2019. So all AR is over 135 days aged and it is
                                  100% collectible if you are able to get the funds released from Medicare. All receivables were sold and Medicare has a pending lawsuit in federal court
                                  re: A/R and other assets.


                                  ***NOTE RECEIVABLE TITAN/MIC***

                                  Trustee withdrew motion C&S with Titan/MIC because AUSA would move to forfeit funds.


                                  ***DEFAMATION LAWSUIT***

                                  No, the damages are not significant enough to pursue, in our view.

                                  Thanks.

                                  Lauren Kilgore
                                  Partner
                                  SHACKELFORD, BOWEN, MCKINLEY & NORTON, LLP
                                  47 Music Square East | Nashville, Tennessee 37203
                                  Tel: (615) 329-4440 | Fax: (615) 329-4485
                                  lkilgore@shackelford.law | www.shackelford.law

                                  From: David Rogers <dgrtrustee@comcast.net>
                                  Sent: Wednesday, August 14, 2019 1:21 PM
                                  To: Lauren Kilgore <LKilgore@Shackelford.law>; John Nefflen <jnefflen@shackelford.law>
                                  Cc: Jay Bowen <JBowen@Shackelford.law>
                                  Subject: RE: Pain MD

                                  I don’t believe a lawsuit of the Debtor against someone else is stayed by the bankruptcy. Do you guys believe the damages are significant enough to
                                    Case 3:19-bk-03841 Doc 244 Filed 10/26/21 Entered 10/26/21 17:46:26 Desc Main
                                  pursue?
                                                                               Document          Page 4 of 7
                                                                             Form 1
                                                                                                                                                                                Page: 5
                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    19-03841                                                                                                    Trustee Name:      (620060) David G. Rogers
Case Name:     Pain MD, LLC                                                                                              Date Filed (f) or Converted (c): 06/14/2019 (f)
                                                                                                                         § 341(a) Meeting Date:   07/15/2019
For Period Ending:   09/30/2021                                                                                          Claims Bar Date: 09/17/2019


                                  DR


                                  ***ANNUAL REPORT UPDATE 2019***

                                  1.   trustee reviewing general ledger/bank statements - potential avoidable transfers
                                  2.   trustee negotiated AO with state and U.S. Atty re: objections to preservation of medical records
                                  3.   trustee reviewing insurance refunds
                                  4.   trustee paying for one year storage facilities re: preservation of medical records
                                  5.   trustee receiving some checks from debtor
                                  6.   trustee monitoring state and federal false claim lawsuits
                                  7.   trustee evaluating defamation lawsuit - no value per lawyers
                                  8.   trustee has filed motions auction vehicles and also medical equipment of the debtor
                                  9.   trustee has sent preference letters


                                  ***PREFERENCE ADVERSARY***

                                  trustee reviewed voluminous documentation and sent many letters - file AP v. Michael Kestner, Voya, Wells Fargo, Global Bio Resources, Inc. and
                                  Microgenics Corporation - trustee either settled or non-suited all Defendants


                                  ***DESTRUCTION MEDICAL RECORDS***

                                  One storage facility records already shredded - rest of medical records will be shredded in January 2024 per state law. Trustee hired Adams and
                                  Reese who advised same. UST agreed to monitor Bizmatics electronic records to 2023.


                                  ***TAX RETURN***

                                  2020 1065 federal tax return filed.


                                  ***DISC ELECTRONIC MEDICAL RECORDS***

                                  Yes, it is safely stored at the UST office in a locked “evidence” cabinet. I have the instructions and the passwords to access. We will keep it until
                                  1/1/2024.

                                  Rebecca J. Yielding
                                  Trial
                                   Case Attorney
                                             3:19-bk-03841          Doc 244       Filed 10/26/21 Entered 10/26/21 17:46:26                        Desc Main
                                  615-736-2258 (office)
                                                                                 Document      Page 5 of 7
                                                                            Form 1
                                                                                                                                                                            Page: 6
                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case No.:    19-03841                                                                                                  Trustee Name:      (620060) David G. Rogers
Case Name:     Pain MD, LLC                                                                                            Date Filed (f) or Converted (c): 06/14/2019 (f)
                                                                                                                       § 341(a) Meeting Date:   07/15/2019
For Period Ending:   09/30/2021                                                                                        Claims Bar Date: 09/17/2019

                                  202-573-6953 (cell)

                                  From: David Rogers <dgrtrustee@comcast.net>
                                  Sent: Thursday, February 11, 2021 10:05 AM
                                  To: Yielding, Rebecca J. (USTP) <Rebecca.J.Yielding@UST.DOJ.GOV>
                                  Subject: PainMD

                                  Did you receive the disk from Bizmatics?

                                  DR
                                  Parag,
                                  The data disks went to me. The US Trustee’s office is storing them for the required period. We have no need/intention to access the disks; however, I
                                  did receive the instructions and the passwords via encrypted email. Since there is pending litigation regarding the former owners, I believe someone will
                                  want to access the records eventually. However, it may be once the coronavirus vaccine is more widespread.

                                  I appreciate your company reducing the cost to complete the data disk transfer as well as waiving the last month’s electronic storage costs. Those
                                  reductions helped save money for the bankruptcy estate and allowed for storage of the records in compliance with state laws.

                                  Thank you,

                                  Rebecca J. Yielding
                                  Trial Attorney, U.S. Trustee Program
                                  701 Broadway, Suite 318
                                  Nashville, TN 37203
                                  615-736-2258 (office)
                                  202-573-6953 (cell)

                                  ***401(K) PROGRAM***

                                  Hello Lisabeth,

                                  Thank you for taking care of the 5500 and getting that signed. I submitted that filing to the Department of Labor and the 8955-SSA to the IRS today.
                                  The link below contains a copy of the 5500 and the acknowledgment ID from the DOL.
                                  https://erisaservices.sharefile.com/d-s8b4c22e810b24d85b3773655a28fe2bb

                                  If you have any remaining questions or I can be of any future assistance please reach out. It has been a pleasure to work with you and I wish you all
                                  the best.

                                  Best Regards,

                                   Case 3:19-bk-03841             Doc 244       Filed 10/26/21 Entered 10/26/21 17:46:26                        Desc Main
                                  Kaylin Dragan, QKA
                                                                               Document      Page 6 of 7
                                                                             Form 1
                                                                                                                                                                                  Page: 7
                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    19-03841                                                                                                     Trustee Name:      (620060) David G. Rogers
Case Name:     Pain MD, LLC                                                                                               Date Filed (f) or Converted (c): 06/14/2019 (f)
                                                                                                                          § 341(a) Meeting Date:   07/15/2019
For Period Ending:     09/30/2021                                                                                         Claims Bar Date: 09/17/2019

                                    Relationship Manager


                                    ***ANNUAL REPORT 2021***

                                    Trustee agreed to pay rent on storage facilities holding PainMD records in 3 states to the end of 2023 to comply with state and federal law.

      Initial Projected Date Of Final Report (TFR):           12/31/2021                                  Current Projected Date Of Final Report (TFR):              03/01/2024


             10/26/2021                                                                                    /s/David G. Rogers

                Date                                                                                       David G. Rogers




                                     Case 3:19-bk-03841             Doc 244       Filed 10/26/21 Entered 10/26/21 17:46:26                         Desc Main
                                                                                 Document      Page 7 of 7
